                        Case 6:18-cv-01659-MK        Document 20    Filed 01/07/19      Page 1 of 4
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                                            UNITED STATES DISTRICT COURT
                                                       for the
                                                 DISTRICT OF OREGON

                                                             )
                                                             )
 Isaacky Gavrilovich Sharipoff                               )
                            Plaintijf(s)
                                                             )
                                                             )
                                V.                                 Civil Action No. 6: 18-cv-1659-SI
                                                             )
                                                             )
                                                             )
                                                             )
Jason Myers et al
========~=~~~=~-~-------
                        L                                        - ---- - - - - - - -                      ----------
                           Defendant(s)                      )




To: (Defendant's name and address)
                                           Sophie Polonsky

           Address                         4040 Aumsville Hwy SE
                                           Salem, Oregon (97317).


         A lawsuit has been filed against you.

        Within 21 days after service ofthis summons on you (not counting the day you received it)- or 60 days if yqu
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3)-youmustserve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attomey,
whose name and address are:
                                Isaacky Gavrilovich Sharipoff
                               Po Box# 514
                               Woddbur·n, Oregon ( 97071).



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint
You also must file your answer or motion with the court.




Date: \ -~   l   r:1)   l-2 D\ ~                                                               ( ),_)
                                                                                 Signatz\e ofClerk or Deputy Clerk·
                      Case 6:18-cv-01659-MK                   Document 20         Filed 01/07/19            Page 2 of 4



AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 6: 18-cv-1659-SI

                                                       PROOF OF SERVICE
                   . (Tltis section slzould not he flied with tlte court u1zless required by Fed. R. Civ. P. 4 (I))

           This summons for (name ofindividual and(itle, ifany)        Sophie Pol on sky
                                                                     ---=--------=-------------
 was received by me on (date)

           0 I personally served the summons on the individual at (place)
                                                                                on (date)                           ; or

           0 I left the summons at the individual's resid~nce or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
          ----------------
           on(date)                                , and mailed a copy to the individual's last known address; or

           0 I served the summons on (name ofindividual)                                                                    , who is
            designated by law to accept service of process on behalf of (name oforganization)
                                                                                 on (date)                          ; or

           0 I returned the summons unexecuted because                                                                          ; or
                                                                     -------------------
                             .
                           First Class Mail
           lxJ Other (specw,):
                           Certified Receipt Return # 7016 3560 0001 1346 7750.
                        To: Sophie Polonsky
            Address          4040 Aumsville Hwy SE ·
                             Salem, Oregon (97317).
           My fees are$     l'l.. qo for travel and$ fl.10 for services, for a total of$ 3 o.oo

           I declare under penalty of perjury that this information is true.


 Date:     12. · 20 • 1 g

                                                                     Isaacky Gavrilovich Sharipoff
                                                                                         Printed name and title




                                                                   P.O. Box# 514, Salem, Oregon (97071).
                                                                                             Server's address

 Additional information re~arding attempted service, etc:
   ;=====•~====================:=========
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Standard Message and Data rates may
apply. Vou may also visit www.usps.com
USPS Tracking or call 1-800-222-1811.

Save this receipt as evidence of
insurance. For information on filing
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